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IN THE UNITED STATES DISTRICT COURT aid \\\\\
FOR THE WESTERN DISTRICT OF TENNESSEE ég/ é%?
EASTERN DIVISION

UNITED STATES OF AMERICA

` a
vS. CR NO. 1:03-10090"

 

HEATHER MICHELLE LEE
ORDER TO SURRENDER

Defendant, Heather Michelle Lee, #19637-076, having been
sentenced in the above styled matter to the custody of the Bureau
of Prisons, and having been granted leave by the Court to report to
the designated institution at her own expense, is hereby ordered to
surrender herself to the Bureau of Prisons by reporting to:
Lexington FMC SCP, 3301 Leestown Road, Lexington, KY 40511;
(Telephone #859-255-6812) no later than 12:00 Noon on Monday,
August 22, 2005.

It is further ordered that upon receipt of a copy of this
order, the defendant shall sign and return the copy, to acknowledge
receipt of said order and that he will report as directed to the
above named institution.

IT IS ORDERED.

A`.M

J S D. TODD

UN TED D TR cT JUQ§E
DATE:

ACKNOWLEDGMENT TO BE SIGNED BY THE DEFENDANT: I agree tO report as
directed in the above order and understand that if I fail to so
report, I may be cited for contempt of court and if convicted, may
be punished by imprisonment or fine or both.

 

 

Date Defendant Signature

This document entered on the docket sheet ln gun llance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 1:03-CR-10090 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

